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                    IN THE UNITED STATES DISTRICT!COURT'c" , ' ;

                           FOR THE DISTRICT OF MONTANA

                                   GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,

                                   Plaintiff,                   No. CR IO-02-GF-SEH

 vs.                                                            FINDINGS AND
                                                                RECOMMENDATIONS
 DOLLY DIANE CROWE,                                             CONCERNING PLEA

                                   Defendant.

        The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

II and has entered a plea of guilty to Counts V and VIII of the Indictment.

        After examining the Defendant under oath, the Court determined that the

guilty pleas were knowingly, intelligently, and voluntarily entered; that the

Defendant fully understands her constitutional rights and the extent to which such

rights are waived; and that the offenses charged and to which guilty pleas were

entered contained each of the essential elements ofthe offenses.


NOTICE: Objections to these Findings and Recommendation are waived unless filed and served within 14 days, 28
U,S.C, § 636(b)(I)(B); Fed, R, Crim, P 59(b)(2),
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              The Court further concludes that the Defendant had adequate time to review

        the Plea Agreement with counsel, that she fully understands each and every

        provision of the agreement and that all ofthe statements in the Plea Agreement are

        truc. I recommend that the Defendant be adjudged guilty and that sentence be

        imposed. A presentence report has been ordered.

                    DATED this      '2--L..-day ofJune, 2010 .


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                                                     United States Magistrate Judge




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